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                             EXHIBIT 4
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                                     Chen Zhanjiao
                                      May 25, 2023

  · · · · · · · · · UNITED STATES DISTRICT COURT
  · · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
  ·
  · · · · · · · ·CASE NO. 21-60125-CIV-SCOLA/GOODMAN
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  · · ·JIANGMEN BENLIDA PRINTED
  · · ·CIRCUIT CO., LTD.,
  ·
  · · · · · · · ·Plaintiff,
  ·
  · · · · · vs.
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  · · ·CIRCUITRONIX, LLC,
  ·
  · · · · · · · ·Defendant.
  · · ·________________________________/

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  · · · · · · · · · · TRANSCRIPT OF PROCEEDINGS
  · · · · · · · · · ·DEPOSITION OF CHEN ZHANJIAO

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  · · · · · · · · · · ·Thursday, May 25, 2023
  · · · · · · ·One Southeast Third Avenue, Suite 2300
  · · · · · · · · · · · Miami, Florida· 33131
  · · · · · · · · · · ·10:30 a.m. - 8:40 p.m.
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  · · · · · · · · · Stenographically Reported By:
  · · · · · · · · · · · · ·LAUREL A. MAZUR
  · · · · · · · · · Florida Professional Reporter

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                                      May 25, 2023

  ·1· ·January of 2018 for the invoices I am showing you now

  ·2· ·in Lines 3 through 17 let's say?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · So you looked back in time at the history of

  ·5· ·CCT's business with Benlida and determined that these

  ·6· ·were all fully paid, correct?

  ·7· · · · A· · Yes.

  ·8· · · · Q· · And did you do the same thing later on that

  ·9· ·year?· Let's say, for example, in June of 2018?

  10· · · · A· · Yes.

  11· · · · Q· · What about for the invoices that were dated

  12· ·in July of 2018; same process?

  13· · · · A· · Yes.

  14· · · · Q· · And those were all fully paid according to

  15· ·your process, correct?

  16· · · · A· · Yes.

  17· · · · Q· · And the same thing for -- let me skip some

  18· ·time to make it shorter -- September 2018?

  19· · · · A· · Yes.

  20· · · · Q· · So CCT was fully paid through September of

  21· ·2018 using your process, correct?

  22· · · · A· · So if you mean that the September invoices

  23· ·were paid in full?

  24· · · · Q· · Yes, according to the process that you used

  25· ·to determine that.


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  ·1· · · · A· · Yes.

  ·2· · · · Q· · And is the same thing true for the October

  ·3· ·invoices where we see the 1810 numbers?

  ·4· · · · A· · Yes.

  ·5· · · · Q· · And also November 2018's invoices, correct?

  ·6· · · · A· · Yes.

  ·7· · · · Q· · And also for the invoices from December

  ·8· ·through December 12 -- sorry, December 21, 2018,

  ·9· ·correct?

  10· · · · A· · No, to the December 21, that particular

  11· ·invoice is done, finished.

  12· · · · Q· · Let me make sure I understood you.· Are you

  13· ·saying Line 560?

  14· · · · A· · 561.

  15· · · · Q· · Okay.· So Line 561 was the last fully paid

  16· ·invoice according to your process, correct?

  17· · · · A· · So for the year of 2018 invoices, the last

  18· ·invoice fully paid is the one in Line 561.

  19· · · · Q· · And you determined that using your process,

  20· ·correct?

  21· · · · A· · Yes.

  22· · · · Q· · And that process involved looking back at the

  23· ·history of the business between CCT and Benlida to make

  24· ·sure that Benlida was -- I am sorry -- that CCT was

  25· ·fully paid to that point in time, correct?


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  ·1· · · · · · ·MR. LERNER:· In the translation --

  ·2· · · · · · ·MR. ROSENTHAL:· That is fair.· Can you

  ·3· · · · translate what Mr. Lerner just asked?· Does that

  ·4· · · · say no, or is that an abbreviation for number?

  ·5· · · · · · ·THE INTERPRETER:· Did you ask me to

  ·6· · · · translate?

  ·7· · · · · · ·MR. LERNER:· I asked if that tab means number

  ·8· · · · of invoiced records in BLD, or does it mean no

  ·9· · · · invoiced records in BLD?

  10· · · · · · ·THE INTERPRETER:· Do I need to ask her that?

  11· · · · · · ·MR. LERNER:· Yes.

  12· · · · · · ·THE WITNESS:· I am not sure if it means no.

  13· · · · · · ·MR. LERNER:· Maybe we can sort it from the

  14· · · · context.

  15· ·BY MR. ROSENTHAL:

  16· · · · Q· · Do you remember searching to see if there

  17· ·were invoices in Circuitronix's records that were

  18· ·missing in Benlida's records?

  19· · · · A· · Yes.

  20· · · · Q· · Let me just look at this.

  21· · · · · · ·Okay, I am going to get out of this document.

  22· · · · · · ·Let me show you another e-mail which is 1754,

  23· ·and the next one is 1883.

  24· · · · · · ·MR. ROSENTHAL:· These are the last two --

  25· · · · there is four.· We are going to mark this as


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  ·1· · · · Exhibit 87.· For the record it's CTX 1754, et

  ·2· · · · cetera.

  ·3· · · · · · ·(Thereupon, Deposition Exhibit No. 87

  ·4· · · · · · · is marked for identification.)

  ·5· ·BY MR. ROSENTHAL:

  ·6· · · · Q· · Ms. Chen, you have now been handed what has

  ·7· ·been marked as Exhibit No. 87.· This is a string of

  ·8· ·e-mails from November 2019.

  ·9· · · · A· · Okay.

  10· · · · Q· · Do you see the top e-mail on the page is from

  11· ·your e-mail account?

  12· · · · A· · Yes.

  13· · · · Q· · And if you can give it to the translator, I

  14· ·will tell you what it says.· It says, "Dear, please see

  15· ·attachments 'CTX missing INV.details' and 'payment

  16· ·discrepancy' as you requested."?

  17· · · · · · ·MR. LERNER:· For the record she translated

  18· · · · INV as invoice.

  19· · · · · · ·MR. ROSENTHAL:· Fine.

  20· ·BY MR. ROSENTHAL:

  21· · · · Q· · And then I am going to summarize.· It says

  22· ·please see another attachment, payment details CTX HK,

  23· ·for 2012 to 2019.

  24· · · · · · ·Between March of 2019 and November of 2019,

  25· ·what do you remember doing as part of the process that


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  ·1· ·these e-mails document?

  ·2· · · · A· · So my job was to do the comparison between

  ·3· ·our own records for -- our own records and CCT records,

  ·4· ·and that the records is about the invoices, whether or

  ·5· ·not the invoices numbers and amounts are matching, and

  ·6· ·whether or not the payments and amounts are matching,

  ·7· ·as well as the debit memos are matching whether or not.

  ·8· · · · Q· · And in doing that comparison, did you ever

  ·9· ·find that there were any mistakes in Benlida's records?

  10· · · · A· · Mistakes from Benlida?

  11· · · · Q· · Yes.· Did you ever find there were any

  12· ·mistakes in Benlida's records?

  13· · · · A· · Well, it's been quite some time, a few years,

  14· ·so I don't quite remember exactly how it was back then.

  15· ·And I just remember that there was a big discrepancy

  16· ·between our records and CCT records.· And what I most

  17· ·remember was that from the documents sent by CCT, there

  18· ·was no records for CTX Hong Kong.

  19· · · · Q· · Let me show you what we will mark as

  20· ·Exhibit 88, which is 1883.

  21· · · · · · ·(Thereupon, Deposition Exhibit No. 88

  22· · · · · · · is marked for identification.)

  23· ·BY MR. ROSENTHAL:

  24· · · · Q· · So this e-mail at the top is from your e-mail

  25· ·address on December 4, 2019, correct?


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